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                               EXHIBIT 3
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 1                      IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
 2                            CHARLOTTESVILLE DIVISION

 3     **************************************************************
       "BABY L.", a minor, by and
 4     through her legal guardians and
       next friends, DOE 1 and DOE 2,
 5     et al.,
                                        CIVIL NO.: 3:20-CV-00009
 6                                      February 26, 2020
                 Plaintiffs,            Lynchburg, Virginia
 7                                      SEALED TRO HEARING
                                        (Conference Call)
 8          vs.

 9     DR. MARK ESPER, in his official         Before:
       capacity as Secretary for the           HONORABLE NORMAN K. MOON
10     United States Department of             UNITED STATES DISTRICT JUDGE
       Defense, et al.,                        WESTERN DISTRICT OF VIRGINIA
11

12                 Defendants.

13     **************************************************************
       APPEARANCES:
14
       For the Plaintiffs:
15
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19

20

21     _____________________________________________________________
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24     PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY; TRANSCRIPT
       PRODUCED BY COMPUTER.
25
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 1     what are you asking for, ultimately?          Your client is not

 2     asking to adopt the child.

 3                 MR. MAST:     No, sir.    He wants to get her medical

 4     treatment in the United States because we dispute that this is

 5     a family member.      We believe that this is                .    If it

 6     were family,              knows how to immediately go and get their

 7     children back from US custody.         It happens all the time.           We

 8     have a doctor who is the                                              in

 9                  ,                , who can testify to this.           They

10     routinely run children through there that fall temporarily

11     into US custody.      What they will do is use children as human

12     shields.    They get injured, they get picked up, they get

13     patched up, and then               knows how to immediately seek

14     custody of them.

15                 She's been here 160 days, and that's because -- the

16     only reasonable explanation these foreign                        fighters

17     could know that with the                     going on right now, they

18     are being officially -- their insistence is being officially

19     denied.    There are no               in               .   And so the

20     only hope they have is confidentiality through ICRC

21     approaching government -- approaching US through ICRC, which

22     they have, if that's true.        And then ICRC coaching the

23                                                  also in how to make the

24     request for her to be returned back.          And that's, you know,

25     where -- where that's the case, the indications are strong
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 1     under            .   We just want them -- the US to vet them for

 2                ties and to ensure DNA connection.          And by making

 3     those two simple requests,                  will self select

 4     themselves out and you will not hear from this supposed family

 5     ever again.

 6                 And so in the meantime she can receive -- she had a

 7                                .   Her head is             .   She has that

 8                     on her leg.          is right here ready to treat

 9     her.    And then any claims for actual relatives that are not

10                can be addressed here in the United States.             They

11     just want to act in her best interest.           They created a legal

12     path to do that.      It was acquiesced to by DoD.         And State said

13     they wouldn't interfere, and they have interfered a lot.               And

14     they put her Visa on hold.        They told DoD withdraw that agency

15     initiated Visa request.        DoD initiated a parole Visa to get

16     her treatment and State -- and                and the others call over

17     and said put it on hold.        She could have been here now already

18     if they had just consented to her getting medical treatment.

19     It is absolutely outrageous that the United States government

20     would knowingly close its eyes and say that non-existent

21     screening protocols for under these circumstances ICRC --

22     which has to be in confidentiality.          We understand that.       They

23     have to be agent for all players, but that is not proof that

24     these are not              .

25                 Strong evidence is that these are                  .    And if
